Case 1:04-cr-10071-.]DT Document 30 Filed 04/28/05 Page 10f2 Page|D 37
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IN THE UNITED sTATES DISTRICT COURT \
FOR THE wEsTERN DIsTRIcT oF TENNESSEE 499 ` \\ébq
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UNITED STATES OF AMERICA -‘uiq@!, .7@
GGV\
vs Criminal No. 1:04-10071-01-T

BILLY GAIL BIRMINGHAM
ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

Upon motion of counsel for defendant the trial date of May 16,
2005, is continued to allow counsel for the defendant additional
time in which to prepare. The ends of justice served by taking such
action outweigh the best interest of the public and the defendant in
a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
TUESDAYl JUNE 7, 3005 at 9:15 A.M. and reset TRIAL DATE for
WEDNESDAY, JUNE 15. 2005 at 9:30 A.M; The Court finds that the
grounds for this continuance justified excluding the period of
May 16, 2005, to June 15, 2005, as excludable delay under

Title 18 U.S.C.§3161(h)(8)(B)(iV) and(h)(B)(A).

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JAMEQV®. TODD
UNITED sTATEs DISTRICT JUDGE

DATE= 017 W MF$/

IT IS SO ORDERED.

Thlo document entered on the docket sheet ln corn nance
with Rule 55 and.lor 32{b) FHCrP on _§)£l_&_

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DISTRIC COUR - WESERNT D"'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 30 in
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Honcrable J ames Tcdd
US DISTRICT COURT

